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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                No. 4:12CR00306-012 KGB


JEREMY GRADDEN PUTT                                                               DEFENDANT


                                             ORDER
       Due to issues with the transportation of separate defendant Jeremy Gradden Putt, the change

of plea hearing scheduled for 10:30 a.m. on Wednesday, May 29, 2013, is continued. The change

of plea hearing for separate defendant Jeremy Gradden Putt is now set for Tuesday, June 11, 2013,

beginning at 1:30 p.m.

       Pursuant to Amended General Order No. 54, counsel for defendant is authorized to bring

electronic device(s) to the courthouse for this proceeding.

       IT IS SO ORDERED this 23rd day of May, 2013.




                                                     _________________________________
                                                     KRISTINE G. BAKER
                                                     UNITED STATES DISTRICT JUDGE
